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uNiTED sTATEs oF AMEchA WD- O-’~' TN. Msw'Pr`£ié
Piaimirr
vs.

CFt. NO. 04-20448-03-B
KENNETH CRENSHAW (C)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on Apri| 25, 2005. At that timel counsel tor the
defendant requested a continuance for Change of Plea.

The Court granted the request and set the change of p_lea date of lV|onday, April
28, 2005. at 10:00 a.m., in Courtroom 1, 11th F|oor ot the Federa| Building, l\/lemphis, TN.

Time was previously excluded through l\/lay 13, 2005 under 18 U.S.C. §
3161(h)(8)(B)(i\/) because the ends ot justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

|T |S SO OFIDEFZED this Zl.qk day Of Apri|, 2005.

 

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UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT 0 TESSEE

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Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/1emphis7 TN 38103

Mary Catherine .1 ermann
FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/1emphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN SETTLE
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Honorable .1. Breen
US DISTRICT COURT

